                    Case 1:17-cr-00060-PLM ECF No. 69, PageID.268 Filed 10/18/17 Page 1 of 1

                           UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                            CRIMINAL MINUTE SHEET
USA v.       William Hugh Wilson                                                    DISTRICT JUDGE:         Paul L. Maloney

    CASE NUMBER                      DATE              TIME (begin/end)             PLACE                     INTERPRETER
       1:17-cr-60                10/18/2017         10:09 a.m. - 10:36 a.m.       Kalamazoo




                                                           APPEARANCES
Government:                                           Defendant:                                     Counsel Designation:
Alexis M. Sanford                                     Geoffrey Upshaw                                CJA Appointment

             TYPE OF HEARING                               DOCUMENTS                                 CHANGE OF PLEA
    Arraignment:                                 Defendant's Rights                    Charging Document:
       mute             nolo contendre                                                     Read           Reading Waived
                                                 Waiver of Indictment
       not guilty       guilty                                                         Guilty Plea to Count(s)
                                                 Other:
    Final Pretrial Conference                                                          of the
    Detention        (waived     )
                                                                                       Count(s) to be dismissed at sentencing:
    Motion Hearing
    Revocation/SRV/PV                         Court to Issue:

    Bond Violation                               Order of Detention                        Presentence Report Ordered
    Change of Plea                               Notice of Sentencing                     Presentence Report Waived
                                                 Order Appointing Counsel                 Plea Accepted by the Court
✔   Sentencing
    Trial                                        Other:                                   Plea Taken under Advisement
    Other:                                                                                 No Written Plea Agreement

                                                            SENTENCING

Imprisonment: 204 months                                           Plea Agreement Accepted:     ✔   Yes     No

Probation: n/a                                                     Defendant informed of right to appeal:     ✔   Yes      No
                                                                   Counsel informed of obligation to file appeal:       ✔ Yes   No
Supervised Release: 5 years
Fine: $ 0.00                                                       Conviction Information:
Restitution: $ 0.00                                                    Date: 6/1/2017
                                                                       By: Plea
Special Assessment: $ 100.00
                                                                       As to Count (s): 1 of the Indictment

ADDITIONAL INFORMATION:
Counts 2, 3, and the forfeiture allegation are dismissed upon motion by the government




                    CUSTODY/RELEASE STATUS                                           BOND AMOUNT AND TYPE

Remanded to USM                                                       $

CASE TO BE:                                                        TYPE OF HEARING:

Reporter/Recorder:         Kathleen Thomas                         Case Manager:         A. Redmond
